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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            11 CR. 12 (RMB)
        -against-
                                                                            ORDER
SALVATOR TORTORICI,
                           Defendant.
-------------------------------------------------------------X

        The Court will hold a telephone status conference on Tuesday, October 27, 2020 at 11:00
AM.
        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 1212


Dated: October 21, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
